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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
                                                         CRIMINAL NUMBER:
                v.
                                                         1:18-cr-00032-2-DLF
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

        Defendant.


        DEFENDANT CONCORD MANAGEMENT AND CONSULTING LLC’S
          MOTION TO COMPEL DISCOVERY OF MATERIALS FROM THE
       U.S. DEPARTMENT OF JUSTICE, FEDERAL ELECTION COMMISSION,
                     AND U.S. DEPARTMENT OF STATE

       Pursuant to Fed. R. Crim. P. 16, Defendant Concord Management and Consulting LLC

(“Defendant” or “Concord”), by and through undersigned counsel, respectfully submits this

Motion to Compel disclosure of: (1) all materials from the Department of Justice (“DOJ”) or

Federal Election Commission (“FEC”) related to the complaint filed with the FEC by Common

Cause on or around September 7, 2017 captioned Common Cause and Paul S. Ryan v. Unknown

Respondent(s) (the “Common Cause Request”); and (2) all documents or information that any

Defendant or unindicted co-conspirator was not or would not have been required to file any report

with the FEC, register with the Department of Justice’s Foreign Agent Registration Act (“FARA”)

Unit, or provide additional information with respect to the visa applications alleged in the

Indictment (the “Brady Request”) (collectively, the “Requests”).

       Concord sought the requested documents and information in late August and mid-

September 2019. Despite multiple follow-up requests from undersigned counsel, the government

did not respond to the Requests until November 14, 2019.           When the government finally

responded, it asserted that the trial team was “not aware of” any such materials in the possession



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of DOJ, and as to the FEC, the requested materials “would not be within the possession of the trial

team for discovery purposes.” Ex. 1, Nov. 14, 2019 Letter.

       The government’s position here is consistent with its past tortured use of the English

language wherein it seeks to turn discovery in this case into a game of hide-and-seek. Because the

government’s response is contrary to the law of this District, Concord brings the instant motion to

compel the government to produce the documents and information requested.

         I.    BACKGROUND

       The Superseding Indictment alleges that the Defendants committed fraud on the United

States by impairing, obstructing and defeating the lawful functions of the FEC, the DOJ, and the

Department of State (“DOS”) for the purpose of interfering in the 2016 presidential election.

Superseding Indictment ¶ 2, ECF No. 247 (the “Indictment”).1

               A.     Concord’s Request for Documents and Information Related to the
                      Common Cause Complaint

       On September 7, 2017, the organization Common Cause filed with the FEC a complaint

raising many of the same allegations set forth in the Indictment. Ex. 2, Common Cause Complaint.

Like the Indictment, the Common Cause Complaint alleges that foreign nationals made

undisclosed expenditures in connection with the 2016 presidential election in violation of the

Foreign Election Campaign Act (“FECA”). Id. ¶ 2. It further alleges that these undisclosed

expenditures included “purchasing political advertising on Facebook using accounts likely

operated out of Russia, in violation of 52 U.S.C. §§ 30121(a)(1)(C) and 30104(c), as well as [] 11

C.F.R. § 110.20(f).” Id. ¶ 2. These are the same allegations contained in the Indictment and the



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  Concord issued the Requests before the government even conceived of the idea of seeking a
Superseding Indictment. However for ease of reference, Concord will refer to the Superseding
Indictment in this Motion.


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same statutory and regulatory provisions the government relies upon in this case. See Indictment

¶¶ 35, 48-50; Government’s Bill of Particulars 1-2, ECF No. 176 (citing 52 U.S.C. §§ 30104(c),

30121 and 11 C.F.R. § 110.20). Additionally, the Common Cause Complaint alleges that some of

these ads specifically mention Donald Trump and Hillary Clinton and refers to the September 6,

2017 Facebook statement referenced in the Superseding Indictment. Compare Ex. 2 ¶¶ 6-7, with

Indictment ¶ 58(b). At the same time that Common Caused filed its complaint with the FEC, it

sent a copy to the Department of Justice. Ex. 3, Sept. 7, 2017 Letter to DOJ (available at

https://www.commoncause.org/media/russian-facebook-political-ad-buys-during-2016-election-

draw-doj-fec-complaints/).

       On August 26, 2019, Concord requested that the government produce any and all materials

from the FEC or DOJ related to the Common Cause Complaint. Ex. 4, Aug. 26, 2019 Letter. Any

such materials would relate directly to whether or not the functions of the FEC and FARA Unit

were in fact impaired.       Here, the government has made unprecedented allegations about

impairment while at the same time failing to produce a single document from the FEC or FARA

Unit evidencing any such impairment. Any action or failure to act by the FEC or DOJ is relevant

to the factual question of impairment, as opposed to impairment imagined by the prosecutors in

this case, and also may be exculpatory.

              B.      Concord’s Request for Exculpatory Information

       On September 17, 2019, Concord issued the Brady Request, seeking:

       (1) Any and all documents or information in the possession of the government, including
       but not limited to the FARA Unit of the Department of Justice and the Federal Election
       Commission that any indicted Defendant or unindicted co-conspirator was not, or would
       not have been required to file any report with the FEC or to register under FARA;

       (2) Any and all documents or information in the possession of the government, including
       but not limited to the United States Department of State that any indicted Defendant or
       unindicted co-conspirator was not, or would not have been required to provide additional



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       information to what was actually provided for the travel visas referenced in ¶ 30 of the
       Indictment;

       (3) Any and all documents or information in the possession of the government, including
       but not limited to the United States Department of State that the activity identified in ¶ 30
       of the Indictment was not prohibited pursuant to the visas issued by the U.S. Department
       of State.

Ex. 5, Sept. 17, 2019 Letter. In its letter, Concord noted that the government has stated that the

Indictment alleges that the Defendants had a legal duty to file reports under FECA and to register

under FARA. Id. As such, any documents or information in the possession of the government

indicating that the Defendants and their co-conspirators did not have such a duty would be

exculpatory.

               C.      The Government’s Tortured Non-Response

       Concord followed up on both of the Requests multiple times, including on September 17,

September 30, and October 25 but the government ignored the Requests. See Ex. 6, Sept. 17,

2019, Sept. 30, 2019 and Oct. 25, 2019 Emails. On November 12, 2019, Concord again asked the

government to respond to the Requests, as well as other outstanding discovery requests. Ex. 7,

Nov. 12, 2019 Email.

       On November 14, 2019, the government finally responded but did not produce any of the

requested materials or agree to do so. See Ex. 1, Nov. 14, 2019 Letter. With respect to the

Common Cause Request, the government stated that the “trial team is not aware of any such

materials in the possession of the Department of Justice” and that “[a]ny materials of the [FEC]

related to this complaint would not be within the possession of the trial team for discovery

purposes.” Id. With respect to the Brady Request, the government similarly stonewalled by

asserting that the “trial team does not possess any of the documents that fall into these categories.”

Id. The government went on to state that “documents in the possession of the FEC, the State




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Department, or ‘the government’ generally, materials in the possession of those agencies would

not be within the possession of the trial team for discovery purposes.” Id.2

       The November 14 letter does not indicate whether the documents and information sought

in the Requests currently exist or ever existed; whether in the months since receiving the Requests

the trial team ever asked the relevant entities for the documents and information sought; whether

the government placed a litigation hold on any such materials so they would not be destroyed; or

whether the government believes that the documents and information sought are not otherwise

discoverable under Rule 16 because they are not material to the defense. Notably, in its email

transmitting the November 14 letter, the government noted that with respect to other outstanding

discovery requests relating to the visa applications, the trial team had “put in a request with the

State Department” and was waiting for a response. See Ex. 8, Nov. 14, 2019 Email.

        II.    LEGAL STANDARD

       “Criminal discovery is not a game. It is integral to the quest for truth and the fair

adjudication of guilt or innocence.” United States v. Libby, 429 F. Supp. 2d 1, 4-5 (D.D.C. 2006)

(quoting Taylor v. Illinois, 484 U.S. 400, 419 (1988) (Brennan, J., dissenting)). To that end, Fed.

R. Crim. P. 16 requires the government to disclose upon the defendant’s request documents and

objects (1) “within the government’s possession, custody, or control” and (2) that are “material to



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   The government’s letter is yet another riddle that undersigned counsel must try to solve. The
government uses the term “possession” as opposed to “possession, custody, or control,” which is
the language of Rule 16. So it is unclear if the government believes that the requested information
is in the “custody or control” of the trial team, but not in its “possession.” Similarly, the
government states that the requested materials “would not be within the possession of the trial
team.” (Emphasis added). The use of this phrasing makes it impossible to determine whether any
of the requested information exists. This phrasing also suggests that the government is engaging
in willful blindness about what may in the possession of DOJ or the FEC. With respect to the
Brady Request, the November 14 letter does not refer to the DOJ’s FARA Unit, which is
specifically mentioned in Concord’s September 17 letter.


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preparing the defense.” See Fed. R. Crim. P. 16(a)(1)(E). “The language and the spirit of the Rule

are designed to provide to a criminal defendant, in the interest of fairness, the widest possible

opportunity to inspect and receive such materials in the possession of the government as may aid

him in presenting his side of the case.” Libby, 429 F. Supp. 2d at 5 (quoting United States v.

Poindexter, 727 F. Supp. 1470, 1473 (D.D.C. 1989)).

        As to the possession, custody, or control prong of the test, courts have been primarily

concerned with the fairness to the defendant, and the government’s ease of access to the documents

sought rather than with whether the documents are actually within the physical possession of the

prosecutor. Id. at 5-6. This is a fact-intensive inquiry and must be resolved on a case-by-case

basis. Id. at 9. Additionally, “when determining whether the government has possession, custody,

and control of documents, the District of Columbia Circuit has found, albeit in the Brady context,

that documents maintained by other components of the government which are ‘closely aligned

with the prosecution’ must be produced.” Id. at 6 (quoting United States v. Brooks, 966 F.2d 1500,

1503 (D.C. Cir. 1993)). The “‘bureaucratic boundary [between agencies is] too weak to limit the

duty’ to disclose.” Id. (quoting Brooks, 966 F.2d at 1503). This Court has summed up the

requirement by noting that “documents will be presumed to be in the government’s possession,

custody and control if the government has both knowledge of and access to the documents.” Id.

at 7 n.11.

        With respect to the materiality prong, a court must determine whether the requested

documents are “material to preparing the defense.” Id. at 7. In the context of Rule 16, the

“defense” means “the defendant’s response to the Government’s case in chief,” and requires courts

to refer to the indictment when determining materiality, “as the indictment delineates the evidence

to which the defendant’s case must respond.” Id. at 7 (internal citations omitted). Courts have




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found that “evidence is material ‘as long as there is a strong indication that it will play an important

role in uncovering admissible evidence, aiding witness preparation, corroborating testimony, or

assisting impeachment or rebuttal.’” United States v. Slough, 22 F. Supp. 3d 1, 4 (D.D.C. 2014)

(quoting United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1983)). It does not matter whether

such evidence is inculpatory or exculpatory. Id. (internal citation omitted). Although materiality

“is not a heavy burden,” the evidence must bear “more than ‘some abstract logical relationship to

the issues in the case.” Id. (internal citations omitted). Thus, the government must disclose Rule

16 evidence “only if it enable[s] the defendant significantly to alter the quantum of proof in his

favor.” Id. (internal citations omitted).

        With respect to the government’s obligations under Brady, “[t]he individual prosecutor has

a duty to learn of any favorable evidence known to the others acting on the government’s behalf

in the case . . . .’” In re Sealed Case No. 99-3096 (Brady Obligations), 185 F.3d 887, 896 (D.C.

Cir. 1999) (quoting Kyles v. Whitley, 514 U.S. 419, 437 (1995)). “Because Brady obligates

prosecutors to assure that all exculpatory material in the possession of its investigators is identified

and disclosed, suppression by either a prosecutor or an investigator can violate Brady.” United

States v. Nelson, 979 F. Supp. 2d 123, 131 (D.D.C. 2013) (citing In re Sealed Case No. 99-3096,

185 F.3d at 896).

        As with disclosures under Rule 16, this Court has defined “favorable” under Brady to

include “any information in the possession of the government—broadly defined to include all

Executive Branch agencies—that relates to guilt or punishment and that tends to help the defense

by either bolstering the defense case or impeaching potential prosecution witnesses.” United

States v. Safavian, 233 F.R.D. 12, 16 (D.D.C. 2005) (emphasis added). This duty includes the

obligation to search files “that are not only maintained by the prosecutor’s or investigative




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agency’s office, but also by other branches of government ‘closely aligned with the prosecution.’”

Id. at 17 (quoting Brooks, 966 F.2d at 1503).

       III.    ARGUMENT

               A.     The Documents and Information Sought are in the Government’s
                      Possession, Custody, or Control

       The government’s assertion that the requested materials “would not be within the

possession of the trial team for discovery purposes” is contrary to the law of this District, which

does not limit discovery obligations to the possession of the line prosecutor. Rather, considering

both fairness to Concord and the government’s ease of access, the requested materials are subject

to discovery under Rule 16. With respect to fairness, Concord notes that the Requests seek

documents and information from two discrete Departments and the FEC—the very entities that

the government accuses Concord of conspiring to defraud. Thus, this is not a situation where

Concord is requesting that the “government . . . search the files of every agency in the Executive

Branch” which courts have acknowledged could “wreak havoc.” Libby, 429 F. Supp. 2d at 6.

Instead, Concord is asking for discovery that is easily accessible to the prosecution through

requests to the entities allegedly victimized by the alleged conspiracy. See United States v. W.R.

Grace, 401 F. Supp. 2d 1069, 1082 (D. Mont. 2005) (in a case involving 371 conspiracy to defraud

charge under the Clean Air Act, the court ordered government to produce under Rule 16 agency

documents relating to the underlying crime).

       In fact, the government acknowledges this ease of access by affirming that it made a request

to one of these entities—the Department of State—in order to respond to other of Concord’s

discovery requests. See Ex. 8, Nov. 14, 2019 Email. If there is no obligation on the government

to produce documents or information that are “not within the possession of the trial team,” why

would the trial team make a request to the State Department for documents requested by Concord,



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while at the same time presumably refusing to request information from the DOJ and the FEC?

This crafty language about what the trial team knows or has possession, custody, or control of is

one more riddle created by the government.3

               B.       The Documents and Information Sought in the Requests Are Material
                        to Concord’s Defense

       The materiality of the documents and information sought in the Requests cannot be

seriously disputed and the government does not assert in its November 14 Letter that the

information is not discoverable because it is not material. Reference to the Indictment clearly

demonstrates that the documents and information sought are material to the defense. See Libby,

429 F. Supp. 2d at 7.

                        1.     The Common Cause Request

       The prosecutors should not be able to come to court to argue that the allegations in the

Indictment constitute impairment of the FEC when the same allegations were before the FEC at

an earlier time and then attempt to keep secret what in fact occurred at the FEC. As set forth above,

the allegations in the Common Cause Complaint mirror those in the Indictment. The FEC has a

statutory obligation to investigate the violation alleged in the Common Cause complaint,4 but there



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  It is worth noting that in response to Concord’s discovery request for documents belonging to the
Department of the Treasury’s Office of Foreign Asset Control (“OFAC”)—an agency whose
functions are not alleged to have been impaired by the conspiracy—the trial team apparently
requested the materials from that agency and reviewed them. See Concord’s Mot. to Compel 4-5,
7, ECF No. 229. It defies logic that the trial team considers documents from OFAC to be within
its possession, custody, or control, but that documents from the three entities at issue in this case
are not.
4
  52 U.S.C. § 30109(a)(2) (2018) provides that “[i]f the Commission, upon receiving a complaint
. . . or on the basis of information ascertained in the normal course of carrying out its supervisory
responsibilities, determines, by an affirmative vote of 4 of its members, that it has reason to believe
that a person has committed, or is about to commit, a violation of this Act . . . , the Commission
shall . . . notify the person of the alleged violation. . . . The Commission shall make an investigation
of such alleged violation . . . .” Id. (emphasis added).


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is no publicly available information regarding any action taken by the FEC. See FEC Matters

Under Review Database (“MUR”) (last checked on Nov. 15, 2019).                 Any documents or

information relating to actions taken by the FEC in response to the Common Cause Complaint

would be material to Concord’s defense of the allegations in the Indictment that the FEC’s

functions include enforcement of the statutory prohibition on certain election-related expenditures

by foreign nationals and requirements for filing reports in connection with certain election-related

expenditures, both of which are implicated by the allegations in the Common Cause Complaint.

       Further, at the time of filing the complaint, Common Cause sent a copy directly to the DOJ.

See Ex. 3. Whether the DOJ or its FARA Unit conducted any investigation or took any action in

response to the allegations set forth in the Common Cause Complaint would be material to

Concord’s defense of the government’s allegations that the FARA Unit’s functions were

implicated by the conduct alleged in the Indictment.

       Moreover, the absence of any such documents within those two entities related to the

Common Cause complaint, would undermine the allegations in the Indictment and would be

exculpatory. In particular, if the FEC did not engage in any analysis or take any action in response

to the Common Cause Complaint, that fact would suggest that the agency did not believe that the

allegations raised in the Common Cause Complaint were relevant to its functions—the very

functions that the government now asserts Defendants and their co-conspirators intended and

conspired to interfere with. Similarly, if the DOJ itself did not conduct any analysis or take any

action in response to the Common Cause Complaint, this too would be exculpatory.

       For this reason, the fact that the government’s November 14 letter does not indicate

whether it ever made a request of the relevant entities in connection with the Common Cause

Complaint is telling. Did the government make such an inquiry and learn that no documents exist?




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If so, it must disclose that information to Concord. On the other hand, if such an inquiry revealed

that the entities do have responsive documents and information, then the trial team would have

knowledge of and access to the documents, making them discoverable under Rule 16. Libby, 429

F. Supp. 2d at 7 n.11. Instead, it seems that the prosecutors are content to ignore Concord’s

discovery requests for months and then fail to inquire whether any responsive documents or

information exist.

                      2.      The Brady Request

       The materiality of the information sought in the Brady Request also cannot be disputed,

and again the government does not make that assertion in its November 14 letter. To the extent

there are any documents or information in the possession, custody, or control of the FEC, DOJ

FARA Unit, or the DOS—the entities allegedly victimized by the conspiracy—that suggest or

indicate that the Defendants and their co-conspirators did not have duties to report to the FEC,

register with the DOJ, or provide additional or different information to the DOS, this information

would contradict the government’s allegations in the Superseding Indictment that such duties did

exist and would be exculpatory and material to preparing the defense. See, e.g., Sept. 16, 2019

Hr’g Tr. 18:23-19:6 (prosecutor confirming that government “can and will prove” that the

members of the conspiracy had a legal duty to report to the FEC and to the DOJ); Government’s

Suppl. Br. Opp’n Def.’s Mot. to Dismiss 1, 3-4, ECF No. 69 (arguing that the Indictment expressly

alleges that the conspirators had legal duties to report and register). The government cannot

possibly fulfill its Brady obligations without making this inquiry, but the government’s November




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14 letter suggests that the trial team has not even asked the entities whether any such documents

or information exist.5

         IV.    CONCLUSION

         Under Fed. R. Crim. P. 16, the government is required to produce documents and

information sought in the Requests because they are (1) within the possession, custody, or control

of the government and (2) are material to Concord’s defense. Accordingly, the Court should

compel the government to produce those documents to defense counsel.

    Dated: November 19, 2019                            Respectfully submitted,

                                                        CONCORD MANAGEMENT AND
                                                        CONSULTING LLC

                                                        By Counsel

                                                        /s/ Eric A. Dubelier
                                                        Eric A. Dubelier (D.C. Bar No. 419412)
                                                        Katherine Seikaly (D.C. Bar No. 498641)
                                                        REED SMITH LLP
                                                        1301 K Street, N.W.
                                                        Suite 1000 – East Tower
                                                        Washington, D.C. 20005
                                                        202-414-9200 (phone)
                                                        202-414-9299 (fax)
                                                        edubelier@reedsmith.com
                                                        kseikaly@reedsmith.com




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  If the government did not go to the requisite entities for these materials, there is a possibility that
the government failed to require the entities to preserve these documents and Concord’s
constitutionally protected privilege to request and obtain material evidence has been spoiled.
California v. Trombetta, 467 U.S. 479, 485 (1984) (“Even in the absence of a specific request, the
prosecution has a constitutional duty to turn over exculpatory evidence that would raise a
reasonable doubt about the defendant’s guilt.” (internal citation omitted)).


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